 1   Bruce H Orr, OSB No. 813297
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 2   Wyse Kadish LLP
     900 SW Fifth Ave, Ste 2000
 3   Portland, OR 97204
     Phone: 503 228-8448
 4   Fax: 503 273-9135

 5   Attorney for Tasha Teherani-Ami, in her capacity as
     the trustee of the Sonja Dinihanian GST Trust DTS 1/1/11
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                                UNITED STATES BANKRUPTCY COURT
11
                                   FOR THE DISTRICT OF OREGON
12
     In re:                                           )     Case Nos.
13                                                    )     19-31883-dwh11 (Lead case)
     15005 NW Cornell LLC and                         )     19-31886-dwh11
14                                                    )
     Vahan M. Dinihanian, Jr.                         )     Jointly Administered Under
15                                                    )     19-31883-dwh11
                                   Debtor(s).         )
16                                                    )     WITNESS LIST FOR TASHA
                                                      )     TEHERANI-AMI, IN HER CAPACITY
17                                                    )     AS THE TRUSTEE OF THE SONJA
                                                      )     DINIHANIAN GST TRUST DTS 1/1/11
18                                                    )
                                                      )     Date of Hearing: September 21, 2021
19                                                    )     Time of Hearing: 9:00 a.m.
                                                      )     Judge: Hon. David W. Hercher
20                                                    )

21            Tasha Teherani-Ami, in her capacity as the Trustee of the Sonja Dinihanian GST Trust
22   DTS 1/1/11 (hereinafter the “Trust”) by and through her attorney Bruce H. Orr, of Wyse Kadish
23   LLP, may call the following witnesses:
24                                     TRUST'S WITNESS LIST
25
      Witness Name                                 Phone Number
26    Tasha Teherani-Ami                           (503) 758-4270
                                                                                WYSE KADISH LLP
                                                                                       Suite 2000
PAGE 1 - WITNESS LIST FOR TASHA TEHERANI-AMI, IN HER CAPACITY AS THE             900 SW Fifth Avenue
                                                                                Portland, Oregon 97204
TRUSTEE OF THE SONJA DINIHANIAN GST TRUST DTS 1/1/11                                 (503) 228-8448
                                                                               Facsimile: (503) 273-9135


                          Case 19-31883-dwh11         Doc 431    Filed 09/20/21
 1   Witness Name                                   Phone Number
 2   Timothy J. Murphy, Esq.                        (503) 709-5100
 3   Amy D. Fassler, Esq.                           (971) 634-1815

 4   Vahan Dinihanian                               c/o counsel for both debtors

 5         The Trust reserves its right to call rebuttal witnesses.

 6
           Submitted this September 20, 2021 WYSE KADISH LLP
 7

 8                                                 /s/ Bruce H. Orr
                                                  Bruce H. Orr, OSB No. 813297
 9                                                bho@wysekadish.com
                                                  Attorneys for Tasha Teherani-Ami in her capacity
10                                                as the trustee of the Sonja Dinihanian GST Trust
                                                  DTS 1/1/11
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                                                                                    WYSE KADISH LLP
                                                                                           Suite 2000
PAGE 2 - WITNESS LIST FOR TASHA TEHERANI-AMI, IN HER CAPACITY AS THE                 900 SW Fifth Avenue
                                                                                    Portland, Oregon 97204
TRUSTEE OF THE SONJA DINIHANIAN GST TRUST DTS 1/1/11                                     (503) 228-8448
                                                                                   Facsimile: (503) 273-9135


                         Case 19-31883-dwh11          Doc 431         Filed 09/20/21
 1                                           CERTIFICATE OF SERVICE

 2            On September 20, 2021, I served copies of

 3   WITNESS LIST FOR TASHA TEHERANI-AMI, IN HER CAPACITY AS THE TRUSTEE OF THE SONJA
     DINIHANIAN GST TRUST DTS 1/1/11
 4
     on the following entitled to notice:
 5
              1) through CM/ECF:
 6
      Douglas R. Pahl                                       Nicholas J. Henderson
 7     Attorney for debtor 15005 NW Cornell LLC             Troy Sexton
                                                             Attorneys for debtor Vahan M. Dinihanian
 8
      Stephen P. Arnot                                      Eleanor A. Dubay
 9     U.S. Trustee                                          Attorney for creditor Tasha Teherani-Ami

10    Russell D. Garrett                                    Daniel L. Steinberg
       Attorney for Alexander LLC, et al.                    Attorney for Cornell Road LLC; Lillian Logan
11

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14
              DATED: September 20, 2021
15
                                                            /s/ Bruce H. Orr
                                                            Bruce H. Orr, OSB No. 813297
16
                                                            bho@wysekadish.com
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                               Case 19-31883-dwh11        Doc 431     Filed 09/20/21
